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                             U N ITED STATES DISTRICT CO U R T
                             EASTER N DISTRICT O F LO U ISIAN A

                                        : M DL N O .2179
                                        :
IN R E: O ILSPILLb ythe O ILR IG        :
        "DEEPWATER H O R IZO N " in the :
        G U LF O F M EXICO ,on          : SECTIO N :J
        APR IL20,2010                   :
                                        :
                                        : JU DG EBAR BIER
                                        : M AG.JU DG ESH U SHAN
                                        :
................................................................

THIS DO CU M EN T RELATES TO CASEN O .10-2087




            M EM O RAN DU M IN SU PPO R T O F M O TIO N TO R EM AN D

M AY IT PLEASETHECO U R T:

        Thism e m ora nd um foc use son a n issue notye tra ise d in d e tailb y a nystate-re la ted

pla intiff in the se c onsolid a ted proc e e d ing s. W hile othe rpla intiffsha ve file d m otionsto

re m a nd the irre spe c tive c a se s,a sre c og nize d b y De fe nd a ntsin the irN otice of Re m ova l,

thisPla intiff’sa lle g a tionsa re d iffe re nt
                                               . H e nc e ,Pla intiff’sa rg um e ntsin thism otion to

re m a nd a re d iffe re nttoo.



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        BP Explora tion & Prod uc tion Inc .
                                           ,BP Prod uc ts N orth Am e ric a Inc . a nd BP

Am e rica Inc .(c olle c tive ly the “BP Entities”) a lle g e in the irN otice of Re m ova ltha tthe

State of Louisia na ,throug h St
                               . Be rna rd District Attorne y John Rowle y,(“Pla intiff”)

a ttem pted to “hid e the b a ll” b y fa iling to spe c ific a lly re fe re nc e the inc id e ntc a using the

d a m a g e s sue d upon in Pla intiff’s Pe tition. This a lle g a tion is nothing m ore tha n a

d e spe ra te a ttem ptb ythe BP Entitiesto c re a te fe d e ra ljurisd iction whe re none e xists.

        The sole c a use of a c tion ra ise d b y Pla intiff in itsPe tition isforthe lossof wild life

und e rTitle 56of the Louisia na R e vise d Statutes(“Title 56”). Forthe purpose sof a Title

56c la im ,the loc a tion of the source of the a c tion(s) b y BP tha t resulted in ha rm is

                                                              1 W ha ti
irre le va nta nd ,thus,wa snota d d re sse d in the Pe tition.       sim porta nt,a nd a lltha tis

a lle g e d ,istha tthe re sultof the a c tionsof the BP Entitiesc a use d the unlawful killing ,

c a tching ,taking ,posse ssing orinjuring of fish,wild b ird s,wild qua d rupe d sa nd othe r

wild life a nd a qua tic life w ithin the Pa rish of St          2
                                                      .Be rna rd .

        The Pe tition a lso se tsforth tha t,notwithsta nd ing a ny la ng ua g e to the c ontra ry,

Pla intiff d oe snotple a d ,a nd willne ve ra ta ny tim e in the future ple a d ,a nyc la im orc a use




1 Ind e e d ,t
             he source of t
                          he ha rm in thisinstanc e isnotjustthe a c tua l oilre le a se d from t
                                                                                                he De e pwa ter
 H orizon Inc id e nt(a stha tterm isuse d in t   he N otice of Re m ova l). The ha rm a lso inc lud e s,b utisnot
 lim ited to,a ttem ptsto c om b a tthe oil via b ot  hthe use of c he m ica l d ispe rsa ntse m ploye d b y the BP
 Entities,fre sh wa terd ive rsion,a nd oilre tention/protec tion a ppa ra tus(e.
                                                                                g.,b oom ).
2 See Pa ra g ra ph 10of t
                         he Pe tition.



                                                       2                                                  158755.
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of a c tion a rising und e ra ny fe d e ra l la w ,a nd a sse rtsno suc h c la im sorc a use sof a c tion

         3
the re in.

         Conse que ntly,a nd d e spite the spurious a lle g a tions m a d e b y the BP Entities,

fe d e ra l sub je c tm a tter jurisd iction d oe s note xtend to Pla intiff’sc la im which is b a se d

sole ly upon Louisia na la w . Thus,thism a tterm ustb e re m a nd e d to the 34th Jud icia l

DistrictCourtforthe Pa rish of St
                                .Be rna rd for furthe r proc e e d ing s. The BP Entities

should a lso b e re quire d to pa y the just c ostsa nd e xpe nse s,a s we ll a sa ttorne y’sfe e s,

                                                                  4
inc urre d b yPla intiff a sa re sultof the irim prope rre m ova l.


I.       The Le g a lStand ard forR e m ova l

         Fe d e ra l c ourtsa re c ourtsof lim ited jurisd iction a nd ,thus,a pre sum ption e xists

                                                    5 M or
tha tc a se slie outsid e thislim ited jurisd iction.    e ove r,the re m ova lstatutesa re to b e

strictlyc onstrue d a nd a ny d oub ta sto the proprie ty of re m ova listo b e re solve d in fa vor

             6 Cons
of re m a nd .     e que ntly,whe n the a ppropria tene ss of re m ova l is c ha lle ng e d b y a

pla intiff se e king re m a nd ,the d e fe nd a nta tte m pting to e sta b lish re m ova lb e a rsthe b urd e n




3 See Pa ra g ra ph 13 of t
                          he Pe tition.
428 U .
      S.C.§ 1447.
5 Kokkonen v.Gua rd ia n Life Ins.Co.of Am erica,511 U .
                                                       S.375,377 (1994).
6Sha m rock O il & GasCorp.v.Sheets,313 U .
                                          S.100,108 (1941);Ca rpenter v.W ichita FallsInd epend entSchool
 District,44F.
             3d 36
                 2 (5t
                     h Cir.1995);Butlerv.Polk,592 F.
                                                   2d 1293 (5t
                                                             h Cir.1979).


                                                      3                                                158755.
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        7 If a fe d e r
of proof.             a lc ourtla c kssub je c tm a tterjurisd iction ove ra re m ove d c a se ,the c a se

                       8
m ustb e re m a nd e d .


II.     The BP Entitie sBa sisForR e m ova l -
                                             -Fe d eral Q ue stion Jurisd iction --Doe sN ot
        ExistIn ThisCa se

        The BP Entitiesre lysole ly upon fe d e ra lque stion jurisd iction foritsre m ova lof this

       9 In or
c a se .     d e rforfe d e ra lque stion jurisd iction to a rise ,the fe d e ra lissue m ust(a ) a ppe a r

                                                                                                      10
on the fa c e of the c om pla inta nd (b ) involve a c la im found e d d irec tly on fe d e ra l la w .

The Courtca nnotre lyon the notice of re m ova lto supplya fe d e ra lque stion whe n none is

                                                    11 Ye tt
provid e d on the fa c e of the re m ove d pe tition.      his(a nd m ore ) ise xa c tlywha tthe BP

Entitiesse e k to ha ve thisCourtd o in thisc a se .

        N e ithe rthe d e c la ra tion of one of the BP Entities’e m ploye e snorthe re fe re nc e to

othe rla w suitsin the N otice of Re m ova l12 c a n b e g ive n jud icia l notice orc onsid e re d in

c onne c tion with d e term ining the proprie tyof re m ova lin thisc a se .



7 W ilson v.Repub lic Iron & Steel,Co.
                                     ,257 U .
                                            S.92,97 (1921);Sid Richa rd son Ca rb on & Gasoline Co.v.Interenerg y
 Res.,99 F. 3d 746,751 (5t
                         h Cir.1996
                                  ) (“A pa rtyinvoking the re m ova ljurisd iction of t
                                                                                      he fe d e ra lc ourtsb e a rs
 a he a vyb urd e n.
                   ”).
8 28 U .
       S.C.§ 1447;Interna tionalPrim a te Protection Le a g ue v.Ad m inistra torsof Tula ne Ed ucationa lFund ,500U .
                                                                                                                     S.
 72,87 (1991);Alb a ra d o v.Southern Pacific Tra nsp.Co.
                                                        ,199 F.
                                                              3d 762,764(5t
                                                                          h Cir.1999).
9 See pa ra g ra phs17 a nd 18 of t
                                  he N otice of Re m ova l,c iting 28 U .
                                                                        S.C.§ 1331.
10 PhillipsPetroleum Co.v.Texaco,415 U .
                                       S.125,127-128 (1974),c iting Gully v.FirstN a t’l Ba nk,299 U .
                                                                                                     S.109,
 112-113 (1936
             );SuperiorO ilCo.v.PioneerCorp.
                                           ,706F.
                                                2d 603,6
                                                       05-606(5th Cir.1983).
11 Rom m ick v.BekinsVan & Storag e Co.
                                      ,197 F.
                                            2d 369 (5th Cir.1952),c iting Tennessee v.U nion & Pla nters’
 Ba nk,152 U .   S.454,Louisville & N a shville Railroa d Com pa ny v.M ottley,211 U .
                                                                                     S.149,a nd Gully v.First
 N a tiona lBa nk in M erid ia n,299 U .
                                       S.109.
12 See pa ra g ra phs9 a nd 10of t
                                 he N otice of Rem ova l.



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         Ase xplicitly se tforth on the fa c e of Pla intiff’sPe tition,the sole c a use of a c tion

a sse rted ise xc lusive ly b a se d upon Louisia na '
                                                     sTitle 56,which im pose sc ivilpe na ltie son

pa rtiesre sponsib le forille g a lly killing ,c a tching ,taking ,posse ssing ,orinjuring wild life

a nd a qua tic life . The a c tua lc a use orsource of the ird oing so isirre le va ntund e rTitle 56

c la im s;ra the r,sim ply tha tthe y d id so. The sing ula rna ture of Pla intiff’sc la im isfurthe r

hig hlig hted in the Pe tition,whic h sta tes:

                  Pla intiff a sse rtsonlythose c a use sof a c tion spe c ific a llyple d in
                  thisPe tition,a nd which ha ve oc c urre d within the Pa rish of St       .
                  Be rna rd ,State of Louisia na ,whic h c a use sof a c tion a rise sole ly
                  und e rthe provision of La .R.   S.56 :40.1,etseq.  13


                  N otwithsta nd ing a nyla ng ua g e in thisPe tition to the c ontra ry,
                  Pla intiff d oe s notple a d ,a nd will ne ve r a ta ny tim e in the
                  future ple a d ,a ny c la im orc a use of a c tion a rising und e ra ny
                  fe d e ra l la w ,a nd a sse rts no suc h c la im s or c a use s of a c tion
                  he re in. 14


                  To the e xtenta nystate la w c la im se xpre sse d orim plie d in this
                  Pe tition a re pre e m pted b y fe d e ra l la w ,suc h c la im s a re not
                                      15
                  a lle g e d he re in.

         AsPla intiff c le a rly ha snota sse rted a fe d e ra l c la im ,the BP Entitiesc a nnotuse a n

una sse rted fe d e ra lc la im a sthe b a sisforre m oving thisc a se to fe d e ra lc ourt.16




13 See Pa ra g ra ph 12 of t
                           he Pe tition.
14 See Pa ra g ra ph 13 of t
                           he Pe tition.
15 See Pa ra g ra ph 14of t
                          he Pe tition.
16Stroud v.Petroleum H elicopters,Inc.
                                     ,1992 W L 300828 (E.
                                                        D.La .1992),c iting Cood y v. Exxon Corp.
                                                                                                ,630
 F.
  Supp.202 (M .
              D.La .1986).


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III.   Pla intiff’s Ca use of Action Doe s N otFa ll U nd erthe Jurisd ictional Grantof
       O CSLA

       De spite the Pe tition'
                             s la c k of a ny re fe re nc e to a fe d e ra l c a use of a c tion a nd its

e xplicitre nunc ia tion of a ny fe d e ra lc a use of a c tion in thisla w suit,the BP Entitiesa rg ue

tha tthisCourtisg ra nted jurisd iction ove rPla intiff’ssta te la w c a use of a c tion b y virtue of

43 U .
     S.C.§ 1349(b ),the jurisd iction portion of O CSLA17,
                                                         which provid e sin pe rtine ntpa rt:

               (1) Exc e pta s provid e d in sub se c tion (c ) of this se c tion,the
               d istrictc ourtsof the U nited States sha ll ha ve jurisd iction of
               c a se sa nd c ontrove rsie sa rising outof,orin c onne c tion with
               (A) a ny ope ra tion c ond uc ted on the outerContine ntal She lf
               whic h involve s e xplora tion,d e ve lopm e nt,or prod uc tion of
               the m ine ra ls, of the sub soil a nd se a b e d of the outer
               Contine ntalShe lf,orwhich involve srig htsto suc h m ine ra ls…

       The BP Entitiesa rg ue in the irN otice of Re m ova l tha tb e c a use the source of the

ha rm a t issue re sulted from “ope ra tions” c ond uc ted on the outer c ontine ntal she lf

(“O CS”),this Courtisg ra nted orig ina l jurisd iction ove rthe la w suitvia O CSLA. But

O CSLA d oe snota pply fe d e ra lla w to e ve ry d ispute involving the O CS. Ra the r,O CSLA

a pplie sonly to the “sub soila nd se a b e d ” of the O CS a nd to struc ture s“pe rm a ne ntly or

tem pora rilya ttac he d to the se a b e d ”forthe purpose of e xploring fororprod uc ing na tura l

re source s.18 Both the U nited StatesSupre m e Courta nd the U nited StatesFifth Circuit

Courtof Appe a lsha ve he ld tha t43 U .
                                       S.C.§ 1333(a )(1) c re a tesa “situs”re quire m e nttha t




17 The O ut
          e rContine ntalShe lf La nd sAc t(“O CSLA”).
18 Fuselierv.Sea BoatRent
                        a ls,Inc.
                                ,2007 W L 2713278 (E.
                                                    D.La .2007).



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                                                                                                19
m ustb e m e tb e fore othe rse c tionsof O CSLA,inc lud ing Se c tion 1349,c a n b e a pplie d .

The BP Entitiesc a nnotm e e ttha t"situs"re quire m e ntb e c a use of the na ture of the injury in

thisc a se which issole ly in State w a terswithin orim m e d ia tely a d ja c e ntto St
                                                                                       .Be rna rd

       20
Pa rish.


IV . The Sole Cause of Action Asse rted By Pla intiff Doe sN otArise From an O CSLA
     “Situs”

         The following loc a tionsa re a ppropria te situse sund e rO CSLA:

         (1)      the sub soila nd se a b e d of the O CS;

         (2)      a nya rtificia lisla nd ,insta lla tion,orothe rd e vic e if

                  (a )     itispe rm a ne ntly ortem pora rily a ttac he d to the se a b e d of the O CS,
                           a nd

                  (b )     itha sb e e n e rec ted on the se a b e d of the O CS,a nd

                  (c )     its pre se nc e on the O CS is to e xplore for,d e ve lop,or prod uc e
                           re source sfrom the O CS;




19 See Gold en v.O m niEnerg yServicesCorp.
                                          ,242 Fe d .Appx.965,967 (5t
                                                                    h Cir.2007) (d isre g a rd ing d e fe nd a nt
                                                                                                                ’s
a rg um e nttha tthe c ourtshould ig nore a “situs”testa nd re lysole ly upon a “b utfor”te stto d e term ine t           he
a pplic a b ility of O CSLA);La nd ry v.Isla nd O pera ting Com pa ny,Inc.     ,2009 W L 3241560 (W .   D.  La .2009);Id . ,
c iting O ffshore Log istics,Inc.v.Tallentire,477 U .S.207 (1986) (“Cong re ssd e term ine d t  ha tthe g e ne ra lsc ope of
O CSLA'    sc ove ra g e .
                         ..would b e d e term ine d princ ipa llyb y loc a le … ) a nd M illsv.Director,O W CP,877 F.    2d
356(5t  h Cir.1989).
20 In pa ra g ra ph 11 of itsN ot
                                ice of Re m ova l,the BP Entitiesa d m ittha tthe injury a tissue oc c urred in t
                                                                                                                he
 “rive rs,la ke s,b a ys,inle ts,a nd othe rb od iesof wa terof t    he State of Louisia na ,spe c ifica lly those in St    .
 Be rna rd Pa rish,a nd t he w a tersof the State of Louisia na in t   he G ulf of M e xico a d ja c e ntto the Pa rish of St
                                                                                                                            .
 Be rna rd Pa rish. ” The BP Entities a lso a lle g e in t   ha tpa ra g ra ph tha tthe “b utfor” c a usa tion forthose
 injurie sist  he De e pwa terH orizon Inc id e nt    . Butthe re isno re a son forthisCourtto c onsid e rthe BP
 Entities’“b utfor”c a usa tion a rg um e ntb e c a use t he thre shold issue ford e term ining O CSLA jurisd iction is
 the “situs”of t  he injury.“Situs”a nd “b utfor”c a usa tion a re notc onsid e re d in tand e m ;rathe r,the “situs”
 testisa t hre shold to b e ove rc om e b e fore the re isa nyre a son to e ve n re a c h the issue of “b utfor”c a usa tion.
 See,e. g.,Gold en,242 Fe d .Appxa t96     7 (a pplying “situs”testa nd notrea c hing “b utfor”a na lysis).



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        (3)     a nya rtificia lisla nd ,insta lla tion,orothe rd e vic e if

                (a )     itispe rm a ne ntly ortem pora rily a ttac he d to the se a b e d of the O CS,
                         a nd

                (b )     itisnota ship orve sse l,a nd

                (c )                                                                       21
                         itspre se nc e on the O CS isto tra nsportresourc e sfrom the O CS.

        In d e term ining w he the rO CSLA’sjurisd ictiona lte stism e t,the “situs”re quire d to

                                                              22 Fore xa m ple ,
trig g e rjurisd iction re fe rsto the loca tion of the injury.                 the Fifth Circuitin

Gold en v.O m ni Energ y Services Corpora tion23 he ld tha tthe sc ope of O CSLA’sc ove ra g e

pursua ntto Se c tion 1349(b )(1)(A) m ustb e d e term ine d princ ipa lly b y loc a le ,b e c a use the

U nited StatesSupre m e Courthold stha tO CSLA ne ithe rre quire snorpe rm itsc ourtsto

e xtend the c ove ra g e of the sta tute to injurie soc c urring a wa y from the O CS. W hile in

Gold en the situsof b oth the injury a nd the e ve ntc a using the injury we re loc a ted outsid e

the O CS,re c e ntd e c isionsinterpre ting Gold en ha ve he ld tha twhe n the situsof the injury

a nd the e ve nt c a using the injury a re d iffe re nt,the situs of the injury c ontrols for

d e term ining the e xiste nc e of O CSLA jurisd iction.

        In Land ryv.Island O pera ting Com pany,Inc.
                                                   ,the d e fe nd a ntssug g e ste d tha ta c a use

of a c tion b a se d in torta rose nota tthe pointof a n e xplosion on la nd (i.e.
                                                                                 ,the loc a tion of

the injury),b ut a t the point of the ir a lle g e d ly ne g lig e nt a c t of a llowing fla m m a b le



21 Dem ette v.Fa lcon Drilling Co.
                                 ,280 F.
                                       3d 492 (5t
                                                h Cir.2002) (re ve rse d on ot
                                                                             he rg round s).
22 La nd ry,2009 W L 324156
                          0,c iting Gold en,242 Fe d .Appx.a t967;Dem ette,270 F.
                                                                                3d a t496
                                                                                        ;M ills,877 F.
                                                                                                     2d
 356
   .
23 242 Fe d .Appx.a t96
                      7,c iting O ffshore Log istics,Inc.
                                                        ,477 U .
                                                               S.a t219.



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sub sta nc e sto e nterinto orre m a in within the tank withoutpla intiff'
                                                                         sknowle d g e (i.
                                                                                         e.,the

                                                               24 The c our
loc a tion of the b re a c h of d uty le a d ing to the injury).          tin Land ry found the

d e fe nd a nts'a rg um e nt to b e m e ritle ss a s it,take n to its log ica l c onc lusion,would

e sse ntia lly im m unize d e fe nd a ntsfrom a c tionsin sta te c ourts(org ive the m unqua lifie d

                                                                                        25
powe rsof re m ova lto fe d e ra lc ourt) sim plythroug h the na ture of the irind ustry.

          Thissa m e log ic a pplie sto the a rg um e ntof the BP Entities. The BP Entitiesurg e

thisCourtto use the site of the De e pwa terH orizon Eve nt26(i.e.
                                                                 ,the site whe re the BP

Entities'b re a c he d the ir d uty of c a re ) a s oppose d to the site whe re Pla intiff’s injury

oc c urre d (i.e.
                ,the injuring /killing of wild life in Louisia na ’sterritoria lla nd a nd wa tersin

a nd a d ja c e ntto St                                                                      27
                      .Be rna rd Pa rish) a sthe situs ford e term ining O CSLA jurisd iction.

Thisa rg um e ntisuntena b le in tha tit(a ) re que ststhe Courtto ig nore the site of the a c tua l

injury a sthe a ppropria te situsa nd (b ) would re sultin the pre c ise pre jud ice e nvisione d

a nd re je c ted b y the c ourtin Land ry(i.e.
                                             ,com ple te im m unity forthe BP Entitiesfrom suit

in sta te c ourtb a se d on the na ture of the irb usine ssa nd unqua lifie d powe rsof re m ova l).




24La nd ry,2009 W L 324156
                         0a t3.
25 Id .

26See pa ra g ra ph 9,10,a nd 11 of t
                                    he N otice of Rem ova l.
27 The BP Ent
            itiesg o so fa ra sto a lle g e t
                                            ha t"the a lle g e d injuryforwhich the y[pla intiffs]we re b ring ing suit
 oc c urre d m ile soutto se a a nd b e yond State jurisd iction on the O uterContine ntalShe lf.    "See pa ra g ra ph 9
 of t he N otice of Re m ova l.Thisiswhollyc ontra ryto Pla intiff'   sa lle g a tionstha tthe ha rm forwhich itsee ks
 re lie f,the d e a t
                    h orinjury of fish,wild b ird s,wild qua d rupe d s a nd othe r wild life a nd a qua tic life in
 viola tion of Title 56occurre d in St  .Berna rd P a rish.


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V.      O CSLA Doe sN otPre e m ptState W ild life Laws

        The BP Entitiesa lso a rg ue tha tthe y a re notb ound b y the c le a rla ng ua g e of the

Pe tition orthe “we llple a d c om pla int”rule on the b a sistha tpa rtof O CSLA,spe c ifica lly

43 U .
     S.C.§ 1349(b )(1)(a ),purported ly pre e m ptsPla intiff’ssta te la w c la im sa nd provid e s

a n orig ina l b a sisforfe d e ra l jurisd iction. Putsim ply,thisa rg um e ntism e ritle ssa sitis

c le a rtha tO CSLA d oe snotcom ple telypre e m ptLouisia na ’sre g ula tion of itswild life .

        Fe d e ra l pre e m ption is ord ina rily a fe d e ra l d e fe nse to a pla intiff’s suit. As a

d e fe nse ,itd oe snota ppe a ron the fa c e of a w e ll-ple a d e d c om pla inta nd c a nnotprovid e a

prope rb a sisforre m ova lto fe d e ra lc ourt.28 Thisle g a ltene tisso strong tha ta c a se m a y

notb e re m ove d to fe d e ra lc ourton the b a sisof a fe d e ra ld e fe nse ,inc lud ing the d e fe nse of

pre e m ption,e ve n if the d e fe nse isa nticipa ted in the pla intiff’sc om pla int
                                                                                     .29


        O nly whe re Cong re ss ha s so c om ple tely pre e m pted a pa rticula ra re a of la w is

the re a n e xc e ption to thisrule . Thise xc e ption provid e stha tif a fe d e ra l c a use of a c tion

c om ple telypre e m ptsa sta te c a use of a c tion,a nyc om pla inttha tc om e swithin the sc ope of

                                                                                   30
the fe d e ra lc a use of a c tion ne c e ssa rily“a rise sund e r”fe d e ra lla w .

        The c a ptione d m a ttera rise soutof Louisia na ’sla w g ove rning the killing /injuring

of itswild life ,a n a c tivity c om ple tely unre la ted to the a c tivitiesg ove rne d b y O CSLA (i.e.



28 La kela nd Anesthesia,Inc.v.Louisia na H e a lth Service & Ind em nityCom pa ny,2000W L 1801834(E.
                                                                                                    D.La .2000),
 c iting M etropolitan Life Ins.Co.v.Ta ylor,481 U .
                                                   S.58 (1987).
29 Id .
      ,c iting Franchise Ta xBoa rd v.Construction La b orers,463 U .
                                                                    S.1 (1983).
30 Id .
      ,c iting Franchise Ta xBoa rd ,463U .
                                          S.a t24.



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the e xplora tion for,a nd re m ova lof,oila nd m ine ra lsfrom the O CS). Conse que ntly,the

BP Entities c a nnotig nore the w e ll ple a d c om pla intrule in a n a ttem ptto c re a te non-

e xiste ntfe d e ra ljurisd iction ove rthism a tter.

          The issue of whe the rCong re ssintend e d to c om ple tely pre e m ptthe a b ility of a

State to re g ula te its wild life ,a nd a c tivities re la ted to its wild life ,wa s e xha ustive ly

a na lyze d b y the Supre m e Courtof Ala ska (a sta te ve ry fa m ilia rwith la rg e oilspills) in

                   31 In i
State v.Bund rand t.     tsle ng thy opinion,Bund rand the ld tha tO CSLA m e re ly provid e s

tha tno sta te sha ll ha ve jurisd iction ove r “sub soil” a nd “se a b e d ” of the O CS a nd the

                              32 Fur
na tura lre sourc e sthe re of.    the r,tha tthe a c tua ld istinc tion intend e d b y Cong re sswa s

b e tw e e n inorg a nic re sourc e sof the sub soila nd se a b e d (i.e.
                                                                        ,oila nd m ine ra ls),which we re

the nc e forth the e xc lusive d om a in of the fe d e ra l g ove rnm e nt,a nd org a nic m a rine life

                                                33
re source s,which we re nota ffe c ted b yO CSLA.

          The sta te law Pla intiff sue supon (i.e.
                                                  ,Title 56of Louisia na ’sRe vise d Statutes) is

the sta te’sre g ula tion of itsna tura lwild life re sourc e s. Asse tforth in Bund rand t,O CSLA

c le a rly wa s not intend e d to com ple tely pre e m pt a sta te’s re g ula tion of its wild life .

Conse que ntly,the BP Entitiesc a nnotig nore the w e llple a d c om pla intrule in a n a ttem pt




31 546P.
       2d 530(Ala ska 1976
                         ),reh d en,547 P.
                                         2d 838 (Ala ska 1976
                                                            ),a nd a ppd ism d ,429 U .
                                                                                      S.806(1976).
32 Id .a t546
            .
33 Id .



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to c re a te fe d e ra lsub je c tm a tterjurisd iction whe re none e xists.Inste a d ,the BP Entitiesa re

b ound b yPla intiff ha ving onlyra ise d state la w c la im sin itsPe tition.


V I. Conclud ing R e m arks

        For a ll the fore g oing re a sons,the BP Entities' a ttem pt to fa b rica te fe d e ra l

jurisd iction fa ils a nd ,thus,thism a tterm ustb e re m a nd e d to the 34th Jud icia l District

Courtforthe Pa rish of St
                        .Be rna rd forfurthe rproc e e d ing s. The BP Entitiesshould a lso b e

re quire d to pa y Pla intiff’sjustc ostsa nd e xpe nse s,a swe lla sa ttorne y’sfe e s,inc urre d a sa

re sultof the BP Entities’im prope rre m ova lof thisc a se .




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                                             Re spe c tfullysub m itted ,

                                             /s/Pe terJ.Butle r,Jr.
                                             Pe terJ.Butle r,Jr.(Ba r#18522)
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                                             DistrictAttorneyforthe Pa rish of St.Berna rd




                                 CERTIFICATEO F SER V ICE

       Ihe re b yc e rtifytha ton Aug ust24,2010,Ie le c tronic a llyfile d the fore g oing with the

Cle rk of Courtb y using the CM /ECF system whic h willse nd a notice of e le c tronic filing

to a llCM /ECF pa rticipa nts.

                                                     /s/Pe terJ.Butle r,Jr.




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